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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 LISA MARIE MONTGOMERY,

                  Plaintiff,
                                                                 Civil Action No. 20-3261 (RDM)
         v.

 WILLIAM P. BARR, et al.,

                 Defendants.


                                               ORDER

        For the reasons set forth in this Court’s Memorandum Opinion, Dkt. 19, it is hereby

ORDERED that Plaintiff’s motion for a preliminary injunction and temporary restraining order,

Dkt. 2, is GRANTED in part and DENIED in part; it is further

        ORDERED that Defendants (along with their respective successors in office, officers,

agents, servants, employees, attorneys, and anyone acting in concert with them) are enjoined

from executing Plaintiff Lisa Marie Montgomery before December 31, 2020; it is further

        ORDERED that Plaintiff’s counsel, Amy Harwell and Kelley Henry, shall finalize

Plaintiff’s clemency petition as promptly as possible in light of their illness; and it is further
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       ORDERED that if both Harwell and Henry believe that they will be unable to do so

without further assistance by December 24, 2020, they shall immediately apply to the U.S.

District Court for the District of Missouri to appoint qualified, additional counsel, or shall enlist

the assistance of other attorneys working in the Office of the Federal Public Defender for the

Middle District of Tennessee.

       SO ORDERED.


                                                       /s/ Randolph D. Moss
                                                       RANDOLPH D. MOSS
                                                       United States District Judge
Date: November 19, 2020




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